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       ORDERED in the Southern District of Florida on May 6, 2016.




                                                            Robert A. Mark, Judge
                                                            United States Bankruptcy Court
_____________________________________________________________________________
                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                    www.flsb.uscourts.gov

  In re:                                              Case No. 14-26895-RAM

  JUAN A. SUAREZ,                                     Chapter 13

     Debtor.
  ____________________________________/

  JUAN A. SUAREZ,                                      Adv. Pro. No.: 16-1129-RAM

       Plaintiff,

  v.

  LA LEY CON JOHN RUIZ, P.A.,
  MSP RECOVERY LLC, and
  JOHN H. RUIZ,

     Defendants.
  ______________________________________/

                           FINAL JUDGMENT AVOIDING CHARGING
                             LIEN FROM HOMESTEAD PROPERTY

           THIS CAUSE came before the Court on May 2, 2016, at 2:00 p.m., upon the Plaintiff’s

  Expedited Motion for Summary Judgment on Count II (the “Motion”) [ECF No. 12], Defendants’
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Response in Opposition to the Motion (the “Response”) [ECF No. 20], and the Plaintiff’s Reply to

Defendants’ Response (the “Reply”) [ECF No. 22].

         The Court has reviewed the Motion, the Response, and the Reply and has heard

arguments of counsel. For the reasons stated on the record, the Court finds that there exists no

issues of material fact as to Count II of the Plaintiff’s Complaint [ECF No. 1], and finding good

cause to exist in entering judgment for the Plaintiff, and being otherwise duly advised in the

premises, it is

         ORDERED AND ADJUDGED as follows:

         1.       The Defendants’ Notice of Attorney’s Charging Lien recorded in Miami- Dade

County at Book 28066 Page 4730 (the “Charging Lien”) cannot attach to the Plaintiff’s

homestead property located at 8246 NW 108th Avenue, Unit 2, Doral, Florida 33178 (the

“Homestead Property”).

         2.       The Charging Lien is avoided to the extent necessary to remove it from attaching

to the Homestead Property.

         3.       Pursuant to Fed. R. Bankr. P. 7054, the Court finds there is no just reason for

delay.

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Submitted by:

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Copies furnished to:

Felipe Plechac-Diaz, Esq.

Attorney Plechac-Diaz is directed to serve copies of this order on all interested parties and to file
a certificate of service.
